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                      IN THE THIRTEENTH JUDICIAL CIRCUIT
                      FOR HILLSBOROUGH COUNTY, FLORIDA

                         ADMINISTRATIVE ORDER 5-2007-036

                 NOTICE OF CHANGE OF CONTACT INFORMATION

          WHEREAS Florida Rule of Judicial Administration 2.515 requires attorneys and
 pro se litigants to provide an address and telephone number on each paper or pleading
 filed with the court; and
          WHEREAS attorneys and pro se litigants experience changes of address or
 telephone numbers or both during the pendency of litigation; and
          WHEREAS the court , the Clerk of the Court ("clerk") and other parties need to
 be advised of such address and telephone number changes to provide proper notice or
 service of papers and pleadings; and
          WHEREAS the courts and the clerk are not uniformly receiving timely notice of
 change of address or telephone number or both from all attorneys and pro se litigants;
 and
          WHEREAS the courts and the clerk receive notices of change of address or
 telephone number or both where the notice does not identify the case number(s)
 associated with the attorney or pro se litigant; it is therefore
          ORDERED:
          1.    Change of Address & Telephone Number Form
          The clerk shall provide a change of address and telephone number form for use by
 attorneys and pro se litigants which complies with the requirements of this administrative
 order.
          2.    Duty of Attorneys and Pro Se Litigants
          Every attorney and pro se litigant who is governed by Florida Rule of Judicial
 Administration 2.515 shall promptly provide the clerk and all parties with written change
 of address information or telephone number information or both, including the case
 number for each case associated with the attorney or pro se litigant on the form provided



                                       EXHIBIT D
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 by the clerk.
        3.       Reliance on Obsolete Contact Information
        Unless attorneys and pro se litigants who experience a change of address or
 telephone number or both comply with this administrative order, the courts, clerk and
 other parties have a right to rely on the address and telephone number appearing in the
 most recent paper or pleading filed in a court file.
        4.       Effective Date
        This administrative order is effective April 2, 2007.
        DONE AND ORDERED in chambers in Tampa, Hillsborough C/unty, Florida
 this        day of March, 2007.




 Original to:    Pat Frank, Clerk of the Circuit Court
 Copy to:        All Judges
                 Hillsborough County Bar Association




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                             REQUEST FOR CHANGE OF ADDRESS



Printed Name of Requestor                                       Telep one Number (required)

FAX Number:                                                     E-Mail:

[] Check if this is a change from current Telephone Number, FAX Number, or E-Mail Address on file with the Clerk.

                                        Relationship to Requestor

        Self              Attorney              Legal Guardian                   Personal Representative

Old Address:

                   Street No.                  Street Name


                   City                        State                         Zip Code

New Address:

                   Street No.                  Street Name


                                               State                         Zip Code




 Case #                        Case Style                                Court Area                   Effective
                      (Parties involved in the case)               (Family Law, Circuit Civil,          Date
                                                                      Circuit Criminal, etc)




PLEASE USE ADDITIONAL FORMS S NECESSARY TO INCLUDE ANY AND ALL CASES.



Signature o    equestor                                                         Dated Request


 For Office Use Only:
 Request Completed:                              Clerk Completing Request:


                                                                                                       Print
